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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


                                                        :
MIA CASTRO, M.D., HEIDI BOULES, M.D,                    :        CIVIL ACTION NO.
ASHLEY ELTORAI, M.D., JODI-ANN                          :        3:20-cv-00330-JBA
OLIVER, M.D., LORI-ANN OLIVER, M.D.,                    :
AND ELIZABETH REINHART, M.D.                            :
                                                        :
                       PLAINTIFFS                       :
                                                        :
v.                                                      :
                                                        :
YALE UNIVERSITY, YALE NEW HAVEN                         :
HOSPITAL, INC., AND MANUEL LOPES                        :
FONTES, M.D.                                            :
                                                        :
                   DEFENDANTS                           :        MARCH 30, 2020
___________________________________________

                                NOTICE OF APPEARANCE

        Please enter the appearance of Patrick M. Noonan, as attorney for the defendant, Yale

University in the above-entitled matter.



                                                  THE DEFENDANT,
                                                  YALE UNIVERSITY

                                            By:                 /s/
                                                  PATRICK M. NOONAN – CT00189
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                                          JURIS NO. 415438
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                                    CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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